              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       BRYSON CITY DIVISION
               CIVIL CASE NO. 2:13-cr-00015-MR-DLH-5


UNITED STATES OF AMERICA, )
                            )
              Plaintiff,    )
                            )
                            )
         vs.                )                  ORDER
                            )
                            )
WALTER CALE STANCIL,        )
                            )
              Defendant.    )
___________________________ )

     THIS MATTER is before the Court on counsel’s Written Response to

Show Cause Order [Doc. 63].

     On September 17, 2013, the Court entered an Order directing

Defendant’s counsel to show cause why his pro hac vice status should not

be revoked for failure to establish an electronic case filing (ECF) account

as required by the Court’s Local Rules. [Doc. 62]. On September 25,

2013, counsel filed a written response to the Court’s Order, advising that he

established an ECF account with the Court on September 19, 2013. As

counsel has now demonstrated his compliance with the requirements of the

Local Rules, the Show Cause Order is hereby discharged.




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     IT IS, THEREFORE, ORDERED that the Show Cause Order [Doc.

62] is hereby DISCHARGED, and attorney Douglas W. McDonald, Jr. shall

be allowed to retain his pro hac vice admission.

     IT IS SO ORDERED.              Signed: October 1, 2013




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